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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

ERIC COOMER, Ph.D.,

               Plaintiff,
v.                                                   Case No. 1:22-cv-01129-NYW-SKC

MICHAEL J. LINDELL, FRANKSPEECH LLC,
AND MY PILLOW, INC.,

       Defendants



                        RESPONSE TO SHOW CAUSE ORDER
                    AND MOTION FOR LEAVE TO CORRECT FILING


       On February 25, 2025, counsel for Defendants filed what they believed to be the correct

Opposition response (Doc. 283) to Plaintiff’s Motion in Limine. Almost two months later, at the

conclusion of the April 21 pre-trial conference and without any notice, the discussion unexpectedly

turned into an evidentiary hearing focused on the substance of Defendants’ Opposition. Defense

counsel was caught off-guard with the Court’s line of questioning as he was unaware of any errors

or issues with his response filed 55 days earlier, and had no reasonable opportunity to investigate

any problem to be able to engage in constructive discussion about Doc. No. 283. Defense Counsel

had no advanced indication that the Court appeared to have conclusively assumed that Defense

counsel blindly relied on generative artificial intelligence in their filing. Defense counsel

respectfully submits that the lack of advance notice left them unprepared to explain the filing at

the time. The Court was obviously prepared to conduct its examination well in advance, catching

Defense counsel wholly unprepared.

       During the April 21 hearing, Defense counsel tried to slow down the Court’s examination

of case citations in Doc. 283 because it was moving rapidly and Defense counsel was still unaware




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of the reasoning behind the Court’s questioning. Defense counsel asked to return to a particular

Westlaw citation and commented that the citation was odd, that this was not the way that counsel

formats his cites, and that this document may have been a draft. At other times, counsel told the

Court that he needed to check into it since, again, at this time he was still uncertain as to how this

error could have occurred. The Court rejected these comments because it seemed to assumed that

defense counsel blindly relied on a response produced by AI. The Court insisted on going through

every case citation asking, “Would you be surprised . . . ?” And of course, Defense counsel

answered that he was surprised. He could not recall Doc. 283 which had been filed 55 days earlier,

let alone the correct legal authorities used to support the various arguments made in Doc. 283.

        The Court’s order insinuates that it had to confront Defense counsel directly in order to

gain an admission that AI was used. Respectfully, this is not accurate. There is nothing wrong with

using AI when used properly. At that time, counsel had no reason to believe that an AI-generated

or unverified draft had been submitted.

        After the hearing and having a subsequent opportunity to investigate Doc. 283, it was

immediately clear that the document filed was not the correct version. It was a prior draft. It was

inadvertent, an erroneous filing that was not done intentionally, and was filed mistakenly through

human error. Counsel acted swiftly to rectify the error.

        D.C.Colo.LCivR 7.1(i) permits this court to strike Doc. 283 and return the response for

revision. The correct response is attached as Exhibit A without alteration and does not include a

completed certificate of service. If permitted by the Court after consideration of the attached

exhibits, we would submit the form of Exhibit A with an errata or corrected title and an updated

certificate of service.




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       A Microsoft Word generated comparison of the changes between the incorrect response

(Doc. 283) that was filed and the correct response counsel intended to file is attached as Exhibit

B. Also included in Exhibit B is an appendix of changes created on April 21, 2025. Exhibit B

shows the numerous and substantive changes to what was the final and correct document.

       The mistaken filing occurred under circumstances which were entirely inadvertent. For

example, the day prior to the filing of the wrong version, Defendants’ counsel worked together to

remove troublesome citations and shore up the main argument. See Exhibit C – 2025.02.24 Emails

between DeMaster and Kachouroff.

       Also included with this response and motion are screen shots of the document properties

from the incorrect and correct versions of the Opposition so that the Court can compare the two

and see that no changes were made to the intended, correct document after the February 25, 2025

filing date. See Exhibit D – Document Properties Comparison.

       Finally, Counsels’ declarations detail the circumstances under which the inadvertent filing

occurred and why it occurred. See Exhibits E - Decl. Demaster and F – Decl. Kachouroff. Again,

the mistaken filing was human error and Doc. 283 was not intended to be filed. There was no lack

of diligence on the part of Defense counsel and no intent to mislead this Court whatsoever.

       Within hours of the Court’s hearing, Defendants’ counsel prepared a Motion for Leave to

substitute Doc. 283. Pursuant to D.C.Colo.LCivR 7.1(a) and upon returning to his home state,

Counsel conferred with opposing counsel by telephone on April 22, 2025, discussed the substance

of Defendants’ Motion for Leave including the circumstances for the mistaken filing, and

apologized to opposing counsel for the inconvenience. Because of the severe nature of the level of

sanctions hinted at in the Court’s order, Defense counsel sent Plaintiff’s counsel, a copy of the

motion on April 23, 2025 and defense counsel also texted and left a message for opposing counsel




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to see whether they would oppose this filing. Plaintiff’s counsel stated that they would not take a

position on the motion for leave.

       While waiting for Plaintiff’s counsel’s response, the Court issued its rule to show cause

(Doc. 308). This motion was modified to include Defense counsel’s response to the show cause

order. Defense counsel has ensured this error was immediately corrected with sincere apology to

this Court and opposing counsel.

       We are not asking this Court to rehear any part of Plaintiff’s motion in limine but we are

seeking leave to file the revised and correct version in lieu of Doc. 283. All arguments made in the

corrected version would be bound by statements, arguments, and withdrawals made at the hearing

on April 21, 2025. We are also asking the Court, after considering the totality of the circumstances

shown in the affidavits, to dismiss the rule to show cause.

       Dated: April 25, 2025.
                                              Respectfully Submitted,

                                              MCSWEENEY, CYNKAR & KACHOUROFF, PLLC

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                               CERTIFICATION OF SERVICE

       I certify that on April 25, 2025, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system which will send notification of such filing to the following email

addresses:

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